Case 2:03-CV-02852-BBD-STA Document 51 Filed 06/07/05 Page 1 of 2 Page|D 57

 

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IN THE UNITED sTATEs DISTRICT COURT ~.
FoR THE wESTERN DISTRICT oF TENNESSEE 95 JUH ~ 7 AH ID~
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ROBERT Fq" 91
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ANDREA cooK, § _ O, T§§ §,ES;;N§;
Plaintiff, )
)
v. ) ease No. 03-2852-1)
)
THE CITY oF TRIMBLE, )
TENNESSEE, )
)
Defendant. )

 

ORDER DENYING AS MOOT PLAINTIFF’S MOTION FOR VOLUNTARY
DISMISSAL WITHOUT PREJUDICE

 

Before the Court is the motion of Plaintiff for voluntary dismissal Without prejudicel
Plaintiff seeks the dismissal in the event the Court denies the joint motion to continue the trial date.

The Court has granted the joint motion. Accordingly, the Court DENIES as moot Plaintift’ s motion

for voluntary dismissal

IT ls so oRDEREl) this ga 4""day ofJune, 2005.

 

UNITED STATES DISTRICT COURT

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Honorable Bernice Donald
US DISTRICT COURT

